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     PETER KIM HOLZMANN
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. Cr. S 11-454 GEB
12                             Plaintiff,                 STIPULATED MOTION AND [lodged] ORDER
                                                          TO REDUCE SENTENCE PURSUANT TO 18
13             v.                                         U.S.C. § 3582(c)(2)
14   PETER KIM HOLZMANN,                                  RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
15                             Defendant.
                                                          Judge: Honorable GARLAND E. BURRELL, Jr.
16
17             Defendant, PETER KIM HOLZMANN by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On March 22, 2013, this Court sentenced Mr. Holzmann to a term of 88 months

25   imprisonment;

26             3.         His total offense level was 33, his criminal history category was I, the resulting

27   guideline range was 135 to 168 months, and he received a reduction from the low end of the

28   applicable guideline range on the government’s motion;

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Holzmann was subsequently lowered by
2    the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Holzmann’s total offense level has been reduced from 33 to 31, and his
5    amended guideline range is 108 to 135 months; a reduction comparable to the one received at the
6    initial sentencing would produce a term of 70 months; and,
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Holzmann’s term of imprisonment to a total term of 70 months.
9    Respectfully submitted,
10   Dated: December 3, 2014                            Dated: December 3, 2014
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           PETER KIM HOLZMANN
16
17                                                     ORDER
18             This matter came before the Court on the stipulated motion of the defendant for reduction
19   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
20             The parties agree, and the Court finds, that Mr. Holzmann is entitled to the benefit
21   Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
22   guideline range of 108 to 135 months. A reduction comparable to the one received at the initial
23   sentencing would produce a term of 70 months.
24             IT IS HEREBY ORDERED that the term of imprisonment imposed in March 2013 is
25   reduced to a term of 70 months.
26             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
27   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
28

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1    reduction in sentence, and shall serve certified copies of the amended judgment on the United
2    States Bureau of Prisons and the United States Probation Office.
3              Unless otherwise ordered, Mr. Holzmann shall report to the United States Probation
4    Office within seventy-two hours after his release.
5    Dated: December 4, 2014
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     Stipulation and Order Re: Sentence Reduction     3
